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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
UNITED STATES OF AMERICA &          )
STATE OF NEW HAMPSHIRE              )
DEPARTMENT OF ENVIRONMENTAL )
SERVICES,                           )
                                    )
      Plaintiffs,                   )
                                    )
              v.                    )                 Civil No. 1:22-cv-289-SM
                                    )
MCCORD CORP.,                       )
                                    )
      Defendant.                    )
____________________________________)


JOINT MOTION FOR ENTRY OF ORDER UNDER FEDERAL RULE OF EVIDENCE
                              502
       The Parties have negotiated and agreed to the terms of an Order under Rule 502 of the

Federal Rules of Evidence (hereinafter FRE 502 Order, or Order). This FRE 502 Order will

govern in the event that a Party discloses information during discovery that the Party

subsequently asserts should be considered privileged and seeks to claw back. This Order replaces

the provisions of Federal Rule of Evidence 502(b) and invokes the protections of Federal Rule of

Evidence 502(d) and Rules 16(b) and 26(c) of the Federal Rules of Civil Procedure. The Parties

believe that entry of this Order will promote efficiency by establishing a clear procedure for

invoking privilege over previously produced documents during this litigation. In accordance with

the Court’s November 29, 2022 Order regarding the Parties’ Joint Discovery Plan, the Parties

respectfully request Court to enter this FRE 502 Order.
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                           Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that this document was filed today through the CM/ECF system,

which automatically provides a digital copy of it to all attorneys of record.

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